                                                                                                                    Form:ntctfclm

                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Michigan
                                                 111 First Street
                                               Bay City, MI 48708


                                                 Case No.: 20−20759−dob
                                                       Chapter: 7
In Re: (NAME OF DEBTOR(S))
   Dome Corporation of North America
   dba Enviro−Tech Structures Corporation
   5450 East Street
   Saginaw, MI 48601
Social Security No.:

Employer's Tax I.D. No.:
  16−1224042

            NOTICE OF NEED TO FILE PROOF OF CLAIM DUE TO RECOVERY OF ASSETS

NOTICE IS GIVEN THAT:

The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since that notice
was sent, assets have been recovered by the trustee.

Creditors who wish to share in any distribution of funds must file a proof of claim with the clerk of the bankruptcy
court at the address above on or before:

                                                     August 19, 2020

Creditors who do not file a proof of claim on or before this date will not share in any distribution from the debtor's
estate.

A Proof of Claim form ("Official Form 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. A proof
of claim may be mailed to the clerk's office for filing. If you wish to receive proof of its receipt by the bankruptcy
court, enclose a photocopy of the proof of claim together with a stamped, self−addressed envelope.

There is no fee for filing the proof of claim.

Any creditor who has previously filed a proof of claim in this case need not file another proof of claim.

Dated: 5/26/20
                                                                       BY THE COURT


                                                                       Katherine B. Gullo , Clerk of Court
                                                                       U.S. Bankruptcy Court




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                                       United States Bankruptcy Court
                                       Eastern District of Michigan
In re:                                                                                  Case No. 20-20759-dob
Dome Corporation of North America                                                       Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0645-1           User: kmcgr                  Page 1 of 2                    Date Rcvd: May 26, 2020
                               Form ID: ntctfclm            Total Noticed: 69


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 28, 2020.
db            #+Dome Corporation of North America,     5450 East Street,     Saginaw, MI 48601-9748
26505037        ABC Supply Co., Inc.,     15631 Collection Center,    Chicago, IL 60693-0156
26505038        Accident Fund Insurance Co. of America,      PO Box 77000,    Detroit, MI 48277-0125
26505039       +Adirondack Valley Builders Inc.,     5833 Number Four Rd.,     Lowville, NY 13367-3331
26532078        American Contractors Inc.,     5107 Pheasant Ridge Rd.,     Charles City, VA 23030
26532080        Annandale Construction Corp.,     38 Cornell Ave.,    Red Hook, NY 12571-1003
26505040       +Apple Roofing LLC,    Attn: Omaha New Construction,       4833 North 32nd St.,
                 Lincoln, NE 68504-4653
26505041       +Athena Construction Group, Inc.,     17877 Old Triangle Road,      Triangle, VA 22172-1252
26505030       +Attorney General,    Law Building,    515 Ottawa,    Lansing, MI 48913-0001
26505031       +BW & US Tax Office,    3024 W. Grand Blvd.,Ste 11-500,      Detroit, MI 48202-6024
26532081       +Berthiaume and Company,     60 Harrow Lane,    Saginaw, MI 48638-6082
26532082        Blue Cross Blue Shield of Michigan,      PO Box 674416,    Detroit, MI 48267-4416
26505043       +Budget Dumpster,    830 Canterbury Rd.,     Westlake, OH 44145-1419
26505045       +Burke Concrete Construction,     PO Box 2483,    Purcellville, VA 20134-4483
26532083        Clear Rate Communications, Inc.,     PO Box 27308,    Lansing, MI 48909-7308
26532084        Companion Life Insurance Co.,     PO Box 60007,    Newark, NJ 07101-8052
26505046       +DP Brown of Detroit, Inc.,     1646 Champagne Dr. N.,     Saginaw, MI 48604-9202
26505049      ++FIFTH THIRD BANK,    MD# ROPS05 BANKRUPTCY DEPT,     1850 EAST PARIS SE,
                 GRAND RAPIDS MI 49546-6253
               (address filed with court: Fifth Third Bank,       102 W. Front St.,     Traverse City, MI 49684)
26505047       +Fairfax Excavation & Paving Co.,     44235 Wade Dr.,     Chantilly, VA 20152-1350
26505048       +Ferguson Waterworks #1800,     13900 Lowe St.,    Chantilly, VA 20151-3277
26505050        Fifth Third Bank,    PO Box 630337,    Cincinnati, OH 45263-0337
26532085       +Fraza,   4670 Zeele Dr.,     Bridgeport, MI 48722-9601
26505051        Green Township Dept. of Public Services,      6303 Harrison AVe.,     Cincinnati, OH 45247-7818
26505052       +Herc Rentals Inc.,    PO Box 936257,     Atlanta, GA 31193-6257
26505053       +Innovative Concrete Contracting,     428 Paul St.,    Freeland, MI 48623-9003
26505054       +JRE, LLC dba Ascension Roofing & Fab,      2140 S. Phillippe Ave.,     PO Box 192,
                 Gonzales, LA 70707-0192
26521791       +Jacquelyn A. Klima,    Kerr Russell and Weber PLC,      500 Woodward Avenue, Suite 2500,
                 Detroit, MI 48226-5499
26532087       +Jacques Kessous,    15 S. Park St.,    Montclair, NJ 07042-2704
26505055        Koester Construction Co.,     3050 SE Enterprise Dr.,     Suite A,    Grimes, IA 50111-5055
26532088        Kuhl Construction,    7280 Main St.,     Owendale, MI 48754
26532089       +LaTerre Enterprises, Inc.,     25471 Vance Rd.,    Chantilly, VA 20152-4229
26505056        Maine Department of Transportation,      16 State House Station,     Augusta, ME 04333-0016
26505033       +Michigan Unemployment Agency,     P.O. Box 169,    Grand Rapids, MI 49501-0169
26505057        Morton Salt, Inc.,    11217 Morton Rd.,     New Iberia, LA 70560-7995
26505058       +Mosaic Shared Services,     13830 Circa Crossings Dr.,     Lithia, FL 33547-3953
26505060       +NJ Department of Transportation,     PO Box 600,    Trenton, NJ 08625-0600
26505061       +NJ Dept of Labor - Unemployment Ins Ofc,      PO Box 226,    Newark, NJ 07101-0226
26505059        Nationwide,    Processing Center,    PO Box 37712,    Philadelphia, PA 19101-5012
26505062       +Northern Sierra Corporation,     5450 East St.,    Saginaw, MI 48601-9748
26505063       +Old Veterans Construction,     10942 S. Halsted St.,     Chicago, IL 60628-3128
26532090        PA Turnpike Toll By Plate,     PO Box 645631,    Pittsburgh, PA 15264-5254
26505064       +Perkins/Carmack Construction,     6005 Meijer Dr.,    Milford, OH 45150-1575
26532086       +Peter W. Herring,    131 Alexandria Place Dr.,     Apopka, FL 32712-4871
26505066       +Ross Lake,    1880 Erskine Rd.,    Hemlock, MI 48626-9774
26505067        Rowe Electric Inc.,    PO Box 276,    Ringoes, NJ 08551-0276
26505068       +Saginaw Foundation,    5450 East St.,     Saginaw, MI 48601-9748
26505069       +Shallow Creek Electrical Svcs,     600 Airport Rd.,     Winchester, VA 22602-4504
26532091       +Spaulding Twp. Water Department,     5025 East Rd.,     Saginaw, MI 48601-9754
26505070        State of NY - Office of General Services,      Cornning Tower-35th Floor,     Empire State Plaza,
                 Albany, NY 12242-0109
26532092        Storage Systems Construction Corp.,      9603 Sideroad 17, Unit #8,     Erin, Ontario NOB 1T0
26532093       +Structural Wood Systems,     PO Box 250,    Greenville, AL 36037-0250
26505071        Sunbelt Rentals,    PO Box 409211,    Atlanta, GA 30384-9211
26532094       +Tanks Direct,    8580 Laureldale Dr.,     Laurel, MD 20724-2008
26505072       +Tony Casale Inc.,    1185 Saw Mill River Rd.,     Yonkers, NY 10710-3240
26505034       +U.S. Attorney,    Attn: Civil Department,     101 First Street, Suite 200,
                 Bay City, MI 48708-5747
26532095        United Parcel Service,     PO Box 809488,    Chicago, IL 60680-9488
26505075        Verizon,    PO Box 16801,    Newark, NJ 07101-6801
26505076       +Virginia Department of Transportation,      1221 E. Broad St.,     Richmond, VA 23219-2035
26532096       +Warner Norcross & Judd LLP,     1500 Warner Bldg.,    150 Ottawa Ave. NW,
                 Grand Rapids, MI 49503-2832
26505077       +Western Surety Co.,    PO Box 5077,    Sioux Falls, SD 57117-5077
26532097       +Wetland Studies and Solutions, Inc.,      5300 Wellington Branch Dr., Ste. 100,
                 Gainesville, VA 20155-4063
26532098       +Zters Waste Value,    13727 Office Park Dr.,     Houston, TX 77070-2892



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District/off: 0645-1                  User: kmcgr                        Page 2 of 2                          Date Rcvd: May 26, 2020
                                      Form ID: ntctfclm                  Total Noticed: 69


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
26532079        EDI: AMEREXPR.COM May 27 2020 03:33:00      American Express,    PO Box 0001,
                 Los Angeles, CA 90096-8000
26505042        E-mail/Text: cvest@balzer.cc May 26 2020 23:39:57      Balzer and Associates, Inc.,
                 PO Box 4068,   Roanoke, VA 24015
26505035        EDI: IRS.COM May 27 2020 03:33:00      Internal Revenue Service,    P.O. Box 7346,
                 Philadelphia, PA 19101-7346
26505032       +E-mail/Text: MarcsBankruptcyUnit@michigan.gov May 26 2020 23:40:24
                 Michigan Dept. of Treasury,   Collection/Bankruptcy Unit,    P.O. Box 30168,
                 Lansing, MI 48909-7668
26505065        E-mail/Text: bankruptcy@pb.com May 26 2020 23:40:27      Pitney Bowes Global Financial Svs LLC,
                 Customer Service Department,   2225 American Dr.,    Neenah, WI 54956-1005
26505073        E-mail/PDF: sluna@ur.com May 27 2020 07:59:00      United Rentals (North America), Inc.,
                 PO Box 100711,   Atlanta, GA 30384-0711
26505074        E-mail/PDF: sluna@ur.com May 27 2020 07:59:06      United Rentals, Inc.,    PO Box 100711,
                 Atlanta, GA 30384-0711
                                                                                              TOTAL: 7

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
26505044*        +Budget Dumpster, LLC,   830 Canterbury Rd.,   Westlake, OH 44145-1419
26505036*         SBSE/Insolvency Unit,   Internal Revenue Service,   Box 330500-Stop 15,                         Detroit, MI 48232
26505078*        +Western Surety Company,   PO Box 5077,   Sioux Falls, SD 57117-5077
                                                                                                                    TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 28, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 21, 2020 at the address(es) listed below:
              Daniel F. Gosch    on behalf of Creditor    Fifth Third Bank, National Association
               DFG2@dickinsonwright.com
              David Samuel Rubin    on behalf of Creditor    JRE, LLC David.Rubin@butlersnow.com
              Henry L. Knier, Jr.    on behalf of Trustee Randall L Frank bankruptcy@smpklaw.com,
               hknier@smpklaw.com
              Jacquelyn Klima     on behalf of Creditor    Western Surety Company jklima@kerr-russell.com,
               ykotlarczyk@kerr-russell.com
              Keith A. Schofner    on behalf of Debtor    Dome Corporation of North America
               kaschofner@lambertleser.com
              Randall L Frank    randall.frank@gmail.com, MI31@ecfcbis.com;rlf@trustesolutions.net
                                                                                              TOTAL: 6




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